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                    IN THE UNITED STATE DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

Sarasota Wine Market, LLC, et al.       )
   Plaintiffs                           )       Case no. 4:17-cv-02792-HEA
                                        )
vs                                      )
                                        )
Michael L. Parsons, et al.              )
   Defendants                           )


                  NOTICE OF NEW PERTINENT AUTHORITY

     Plaintiffs hereby bring to the Court’s attention new authority pertinent to the

matter now pending in front of the Court. On September 28, 2018, an opinion was

issued in Lebamoff Enterprises et al. v. Snyder, Case No. 2:17-cv-10191 (E.D. Mich.

2018). The case involved the same dispute over whether the 21st Amendment

authorized a state to discriminate against nonresidents by allowing only in-state

retailers to ship wine directly to consumers. In Lebamoff, the District Court ruled in

favor of the plaintiffs, found that the nondiscrimination principle of the Commerce

Clause applied to wine shipping by retailers, and struck down the Michigan law

that prohibited nonresidents from shipping to consumers. A copy of the opinion is

attached.

                                        Respectfully submitted,
                                        Attorneys for plaintiffs:

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                            CERTIFICATE OF SERVICE

I hereby certify that on October 1, 2018, the foregoing document was filed
electronically with the Clerk of the Court and will be served on the attorneys for all
defendants through the Court’s electronic filing system.

                                s/ James A. Tanford
                                James A. Tanford
                                Epstein Cohen Seif & Porter, LLC
                                Attorney for Plaintiffs




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